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 3
                         UNITED STATES DISTRICT COURT
 4                      CENTRAL DISTRICT OF CALIFORNIA

 5
     SANDRA MILLER,                             Case No.: 2:20-cv-06075-RGK-PD
 6
                  Plaintiff,                    ORDER OF DISMISSAL
 7                                              [16]
     v.
 8

 9   CAPITAL ONE BANK (USA), N.A.,
10               Defendant.
11

12

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14
           Upon review of the Parties’ Stipulation of Dismissal with Prejudice of

15   Defendant Capital One Bank (USA), N.A., and good cause appearing,
16
           IT IS ORDERED that the Stipulation is GRANTED.
17
           The above-entitled matter is hereby dismissed with prejudice, with the parties
18

19   to bear their own attorneys’ fees, costs, and expenses.

20         IT IS SO ORDERED.
21

22
     Dated: October 20, 2020
23
                                                      Hono
                                                      Honorable
                                                          orable R.
                                                                 R Gary Klausner
                                                                          K
24                                                    United States District Judge

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